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                                    No. 22-5638

                     UNITED STATES COURT OF APPEALS
                          FOR THE SIXTH CIRCUIT


                                  RICHARD DEVORE


                                 Plaintiff-Appellant,

                                          v.

                             UNITED PARCEL SERVICE CO.,

                                Defendant-Appellee.


                     Appeal from the United States District Court
              for the Western District of Kentucky, Louisville Division,
                         Case No. 3:19-cv-00731-CRS-RSE

             REPLY BRIEF OF APPELLANT, RICHARD DEVORE



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                                INTRODUCTION

      This is an FMLA retaliation case. The Plaintiff/Appellant, Richard DeVore

(“Mr. DeVore”), worked for UPS for nearly three decades. In 2018, Mr. DeVore

learned that he would need to be out on leave for surgery later in the year. While Mr.

DeVore did not yet know the exact timing of his leave, because the surgery had not

yet been scheduled, he nonetheless alerted his supervisor that he would need to be

out later that year. Shortly thereafter, Mr. DeVore made a low-impact mistake in his

job. UPS terminated Mr. DeVore, claiming it was because of that mistake. The

evidence shows that UPS has not identified a single person terminated for making

the same or a remotely similar mistake. In stark contrast Mr. DeVore has shown a

great deal of evidence indicating that UPS essentially never terminated employees

for such mistakes.

      This casts serious doubt on UPS's justification, while substantially supporting

Mr. DeVore's assertion that he was really terminated because his then supervisor did

not wish to be inconvenienced by Mr. DeVore’s medical leave. Mr. DeVore

presented more than enough evidence to allow a jury to find in Mr. DeVore’s favor,

and the court below erred in granting the Defendant’s motion for summary

judgment.

      The principal issues before the Court are (1) whether Mr. DeVore engaged in

a protected activity that put UPS on notice that he would need to take FMLA leave;



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(2) whether showing temporal proximity, evidence of a pretextual termination, and

a history of animus toward an employee is sufficient to create a jury question as to

causation; and (3) whether, if the other elements of a prima facie case are met, the

“honest belief” rule nonetheless shields UPS from any liability. Defendant’s

Response Brief [Doc. 21-1] is unconvincing on these determinative issues. For the

reasons that follow, and for the reasons set forth in Mr. DeVore’s principal brief, the

district court must be reversed and this case remanded for further proceedings.

    1. Mr. DeVore's statement that he would need to be out for surgery during
       UPS' peak season was sufficient to put UPS on notice of the approximate
       timing and duration of his leave.

      The regulation cited by UPS, 29 C.F.R. § 825.302(c), requires that an

employee provide the “anticipated timing and duration of the leave.”1 UPS concedes

that Mr. DeVore told his supervisor, Jeff Johnston, that he would need to go out for

surgery and that Mr. DeVore did so “in case it would coincide with the UPS Peak

Season (in November and December) for which he typically trained new hires.”

[UPS Resp. Br., Doc. 21-1 at 4]. UPS’ peak season is a time period known by UPS

and Messrs. Johnston and DeVore, and UPS does not contest that its peak season is

in November and December. [Id.]. UPS’ attempt to employ what amounts to a


1
  For reasons explained infra, recent precedent from this Court clarifies that, in
fact, Mr. DeVore’s yet unscheduled surgery fell under the classification of
unforeseeable leave and was therefore governed by 29 C.F.R. § 825.303(b).
Nonetheless, even under § 825.302, Mr. DeVore put UPS on notice of his need for
medical leave.

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“magic-words” test should not distract this Court from what matters. Mr. DeVore’s

supervisor would have been well aware of what it meant when Mr. DeVore said he

would be out during peak season for a surgery on his foot. [R. 62-1 at PageID # 406].

      Moreover, UPS’ argument that Mr. DeVore said only that he would need to

be “out” is incorrect. Mr. DeVore has further testified that, in general, when he

needed leave, “I just simply let my supervisor or manager know that, ‘Hey, I'm going

to have to, you know, go out on disability,’ and they would take care of it.” [R. 62-

1 at PageID # 405]. On top of that, UPS, acting in good faith, would have fairly

understood that someone who had taken a significant amount of FMLA leave for a

foot surgery in the past, and who was now giving several months' advance notice of

an upcoming need to be out for another foot surgery, was referring to a need for

medical leave, not merely a need for an afternoon off. To the extent UPS had any

question about this, the regulations provide that it is UPS’ duty to inquire further. 29

C.F.R. § 825.303(b).

      For this reason, the Sixth Circuit’s determination that FMLA protections go

into effect when an employee notifies his or her employer that “leave is needed”

controls here. Wallace v. FedEx Corp., 764 F.3d 571, 586 (6th Cir. 2014). At a

minimum, the issue should be treated as a question of fact for a jury. Valdivia v.

Twp. High Sch. Dist. 214, 942 F.3d 395, 400 (7th Cir. 2019). “Adequacy of notice is

a fact-rich question that is perhaps best resolved by the trier of fact, particularly,



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where, as is the case here, the employer and employee dispute the quantity and nature

of communications regarding the employee's illness.” Id. (internal quotations and

citation omitted).

   2. Mr. DeVore was not required to provide the exact timing or duration of
      his medical leave in any case, because those particular facts were
      unforeseeable at the time he engaged in protected activity.

      The Parties agree that claims of FMLA retaliation are governed by the

McDonnell-Douglas burden shifting framework. Marshall v. Rawlings Co. LLC, 854

F.3d 368, 379 (6th Cir. 2017); [Resp. Br., Doc. 21-1 at 16]. Under that framework,

to make a prima facie showing of FMLA retaliation, a Plaintiff must show that he

or she engaged in protected activity by providing her or his employer notice of his

or her need to take FMLA leave; that she or he suffered an adverse employment

action; and that the previous two elements are causally connected. Edgar v. JAC

Prods., Inc., 443 F.3d 501, 508 (6th Cir. 2006).

      UPS’ response [Doc. 21 at 15] argues that Mr. DeVore failed to provide UPS

notice of his need to take FMLA leave, because Mr. DeVore did not state the timing

of the leave or the duration. The problem with UPS’ argument, on top of the fact that

Mr. DeVore did provide UPS with sufficient notice of the timing and duration of the

needed leave, is that UPS’ focus here is on the wrong regulation. Mr. DeVore was

not required to state the precise timing or duration of the needed FMLA leave. Sixth

Circuit authority, published after Mr. DeVore filed his appellate brief in chief herein,



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offers further clarity on the issue. Three regulations are involved in this analysis.

First, the most general provision, 29 C.F.R. § 825.301(b) “gives general instructions

to all employees who want to designate leave as FMLA leave.” Render v. FCA US,

LLC, ___ F.4th ___, No. 21-2851 (6th Cir., Nov. 16, 2022).

      Section 825.301(b) states that “[a]n employee giving notice of the need for

FMLA leave does not need to expressly assert rights under the Act or even mention

the FMLA to meet his or her obligation to provide notice, though the employee

would need to state a qualifying reason for the needed leave and otherwise satisfy

the notice requirements set forth in § 825.302 or § 825.303 depending on whether

the need for leave is foreseeable or unforeseeable.” “Employees must therefore

comply with this broader provision and one of the two specific provisions that give

detailed instructions to employees depending on whether the need for leave was

foreseeable or unforeseeable.” Render, supra at *10.

      Thus, the next question is whether the leave requested was foreseeable or

unforeseeable. Id. According to 29 C.F.R. § 825.303, “[w]hen the approximate

timing of the need for leave is not foreseeable, an employee must provide notice to

the employer as soon as practicable under the facts and circumstances of the

particular case.” Subsection (b) sets forth what this notice requires: “An employee

shall provide sufficient information for an employer to reasonably determine

whether the FMLA may apply to the leave request.”



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      By contrast, 29 C.F.R. § 825.302(c) sets forth what is required to establish

notice where the timing and duration of the leave is foreseeable. “An employee shall

provide at least verbal notice sufficient to make the employer aware that the

employee needs FMLA-qualifying leave, and the anticipated timing and duration of

the leave.” 29 C.F.R. § 825.302(c). In other words, the foreseeable leave section adds

the requirement that an employee give his employer notice of the timing and duration

of the needed leave, and UPS incorrectly focused on that section.

      Here, Mr. DeVore’s surgery was, at the time he gave notice to his supervisor,

unscheduled, and the precise time he would need to be out was unknown. At this

point Mr. DeVore could only have a general idea that the surgery needed to occur,

that he would need leave for the surgery, and that the surgery would need to be

scheduled during UPS’ peak season. Mr. DeVore therefore notified his supervisor

as soon as was practicable so that UPS could plan accordingly. This is sufficient

notice under § 825.302, but, to the extent this Court were to harbor any doubt in that

regard, the plain language of the relevant regulation would lead one to conclude that

the exact timing and duration of Mr. DeVore’s leave remained unforeseeable until

the leave was actually scheduled with Mr. DeVore’s surgeon. As a result, Mr.

DeVore’s need for leave fairly falls under § 825.303, which does not contain the

notice requirements expressed in § 825.302.




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    3. The temporal proximity between Mr. DeVore’s protected activity under
       the FMLA and his termination, considered with the record evidence that
       he was treated differently from other employees, create fact questions as
       to pretext and causation.

       UPS claims Mr. DeVore cannot make a prima facie showing of causation

connecting the protected activity under the FMLA with Mr. DeVore’s termination.

UPS is wrong. “The burden of proof at the prima facie stage is minimal.” Dixon v.

Gonzales, 481 F.3d 324, 333 (6th Cir. 2007). In Bryson v. Regis Corp., 498 F.3d

561, 571 (6th Cir. 2007), this Circuit held that a three-month time lapse between the

plaintiff's request for FMLA leave and her termination on the day she was scheduled

to return to work was sufficient to establish a prima facie showing of causation.

       Here, Mr. DeVore was terminated less than three and possibly less than two

months after notifying UPS of his upcoming need to take FMLA leave.2 And while

timing alone can sometimes meet the minimal burden required at the prima facie

phase, Mr. DeVore provided ample other evidence to support the causation element.

UPS describes the evidence Mr. DeVore cites in his principal brief as “a litany of

inapplicable statements without explaining how they support his allegation that his




2
 While UPS notes that Mr. DeVore does not know the exact date of his
conversation with Mr. Johnston regarding his need for FMLA leave, Mr. DeVore
knows it was in March, and he was terminated less than three months before the
beginning, and less than two months after the end, of March, on May 25th.
Therefore, the evidence establishes the termination was, at least, within the three-
month window found to constitute suspicious timing in Bryson.

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employment ended because he purportedly invoked his FMLA rights.” [Doc. 21-1

at 19]. This may be an effective insult, but it is not an effective argument.

      A reasonable juror could conclude that current and former UPS employees

testifying as they did in sworn depositions that UPS never fired anyone for doing

something like Mr. DeVore did — and that such mistakes were extremely common

— is in fact evidence that UPS fired Mr. DeVore because he engaged in protected

activity. The same is true for the fact that this was the first time Mr. DeVore had

requested leave under Mr. Johnston’s supervision, but that Mr. DeVore had twice

taken FMLA before being supervised by Mr. Johnston, without incident. What is

more, the sworn affidavit of a former employee claiming that UPS retaliates against

employees who need to take medical leave, and the deposition testimony of multiple

employees confirming that mistakes of the type Mr. DeVore made are

commonplace, would permit a reasonable juror to conclude that UPS terminated Mr.

DeVore because he notified Mr. Johnston of an upcoming need for medical leave.

[Brief of the Appellant, Doc. 18 at 23-24].

      UPS claims that the fact that another supervisor first discovered Mr. DeVore’s

mistake works against Mr. DeVore’s case for causation. Not so. Viewing this

evidence in the light most favorable to Mr. Devore, it is easy to see this fact as simply

providing Mr. Johnston with the opportunity to do what he already wanted to do,




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terminate Mr. DeVore because Mr. DeVore’s need to take FMLA leave would

inconvenience Mr. Johnston and UPS.

        The cumulative evidence Mr. DeVore offers alongside temporal proximity

serves both as sufficient evidence of a causal link and of pretext. This Circuit has

recognized that evidence of pretext may serve to buttress a causal connection

alongside temporal proximity. Philbrick v. Holder, 583 F. App'x 478, 490 (6th Cir.

2014). In that case, the court described the “‘overlap between the causal connection

requirement and a showing that the proffered reason for termination was not the

actual reason,’” and recognized this Circuit’s previous holding that “in retaliation

cases, the same type of evidence may be used to prove both.” (Id. (quoting Cantrell

v. Nissan N. Am. Inc., 145 F. App'x 99, 107 n.2 (6th Cir. 2005)).

        Mr. DeVore has presented more than enough evidence to establish a causal

connection at the prima facie stage, and the District Court erred in granting UPS

summary judgment on this element. UPS arguments to the contrary do nothing more

than either distract or present evidence in a light most favorable to UPS, and are

without persuasive merit under the determinative standards for summary judgment

here.

   4. UPS cannot use the honest belief rule as a “get-out-of-pretext-free card.”

        Mr. DeVore and UPS agree that Mr. DeVore in fact failed to enter a release

code with respect to Pilot Leuenberger on May 19, 2018, resulting in a cost to UPS



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of less than a hundred dollars. Mr. DeVore further agrees with UPS that, at the time,

Mr. DeVore did not have the authority to exercise discretion in the entering of this

code. Mr. DeVore mistakenly thought at the time and under the pressurized flight

scheduling context he was working under that he did. [R. 62-1 at PageID # 424]. But

UPS is essentially asking this Court to play the role of a jury by concluding that UPS

was justified in its proffered reasons for terminating Mr. DeVore.

      The problem with this request by UPS is that the so-called “honest belief” rule

does not extend so far as to permit companies to baldly state that they believed they

had good reasons for terminating an employee and, in so doing, overcome a civil

rights plaintiff’s claim that those reasons were pretextual. UPS fails to acknowledge

the most recent cases from the Sixth Circuit addressing the “honest belief” rule. In

Wyatt v. Nissan N. Am., Inc., 999 F.3d 400, 425 (6th Cir. 2021), this Court held that

the “honest belief” rule in no way prevents a plaintiff from showing that a

defendant’s proffered reason for terminating an employee did not “actually

motivate” the termination.

      Here, Mr. DeVore has offered evidence from numerous employees, current

and past, who all stated that they knew of no one who had ever been terminated for

a similar mistake to the one Mr. DeVore made, showing that UPS proferred reason

for terminating him did not actually motivate the termination. This is sufficient to

permit a jury to conclude UPS’ proffered reason for termination was pretextual, and



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UPS should not be permitted to rely on the “honest belief” rule to gainsay Mr.

DeVore’s claim of pretext. That is a question for the jury, not an issue for the judge.

See also Craddock v. FedEx Corp. Servs., 2022 U.S. App. LEXIS 3632, No. 20-

5655 (6th Cir., Feb. 9, 2022).

                                  CONCLUSION

      UPS fired Mr. DeVore because he engaged in protected activity under the

FMLA. Mr. DeVore more than met the minimal circumstantial burden required

under McDonnell-Douglas, and the District Court erred in its application of the law

and in its misconstruction of the facts. Mr. DeVore therefore respectfully requests

this Court to reverse the District Court’s decision and remand this case for further

proceedings.



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                         CERTIFICATE OF COMPLIANCE

      I certify that I am a member of the Bar of the United States Court of Appeals

for the Sixth Circuit.

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B)(i), because it contains less than 6,500 words, as determined by Microsoft

Word (2018), including the headings and footnotes and excluding the parts of the

brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii). The brief also complies with the

typeface requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of

Fed. R. App. P. 32(a)(6). The text appears in 14-point Times New Roman, a

proportionally spaced typeface.


                                           /s/ Chris K. Stewart
                                               Chris K. Stewart
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                          CERTIFICATE OF SERVICE

      On December 2, 2022, I electronically filed this Appellee’s Brief with the

Clerk of the Court using the CM/ECF system and the Brief was served via the

CM/ECF system upon counsel of record for the Appellant.


                                          /s/ Chris K. Stewart
